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                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA

                                  SAN FRANCISCO DIVISION

  GOOGLE LLC,                                 CASE NO. 3:20-cv-06754-WHA
                                               Related to CASE NO. 3:21-cv-07559
                Plaintiff,

       vs.                                   [PROPOSED] ORDER GRANTING
                                               PLAINTIFF GOOGLE LLC’S MOTION
 SONOS, INC.,                                TO BIFURCATE VALIDITY FROM
                                               WILLFULNESS AND DAMAGES FOR
                Defendant.                   THE PATENT SHOWDOWN TRIAL
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                                                               CASE NO. 3:20-cv-06754-WHA
                                                                           [PROPOSED] ORDER
     Case 3:20-cv-06754-WHA Document 330-3 Filed 08/24/22 Page 2 of 2




 1         Before the Court is Google LLC’s Motion to Bifurcate Validity from Willfulness and Damages

 2 for the Patent Showdown Trial (“Motion”). Having reviewed the Motion, and good cause appearing

 3 therefor, this Court concludes that the Motion should be, and is hereby, GRANTED. It is therefore

 4 ORDERED that the issues of willfulness and infringement be bifurcated from the issue of validity

 5 damages and tried separately

 6         [   ] during the May 2023 trial

 7         [   ] during the patent showdown.

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 9         IT IS SO ORDERED.

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12 DATED:

13                                                The Honorable William Alsup
                                                  United States District Court Judge
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                                                  -2-                   CASE NO. 3:20-cv-06754-WHA
                                                                                       [PROPOSED] ORDER
